     Case 4:17-cv-00276-A Document 1 Filed 03/31/17                Page 1 of 6 PageID 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

BRYAN C. WAGNER,                                §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §   CIVIL ACTION NO.: 4:17-cv-276
                                                §
NORTHFIELD INSURANCE COMPANY,                   §
                                                §
       Defendant.                               §

                                   NOTICE OF REMOVAL

       Northfield Insurance Company (“Northfield”), Defendant herein, files this Notice of

Removal containing a short and plain statement of the grounds for removal as required by 28

U.S.C. §§ 1441 and 1446, and thereby giving notice of removal from the District Court of

Tarrant County, Texas to the United States District Court for the Northern District of Texas.

                                          OVERVIEW

       1.      On or about February 28, 2017, Plaintiff, Bryan C. Wagner (“Plaintiff” or

“Wagner”), commenced an action styled Bryan C. Wagner v. Northfield Insurance Company,

Cause No. 067-290721-17, in the 67th Judicial District Court of Tarrant County, Texas, a district

and division embraced within the United States District Court for the Northern District of Texas.

Wagner seeks a declaratory judgment that Northfield owes him a duty to defend in an underlying

lawsuit styled ExxonMobil Corp. v. Trade Exploration Corp., et al., Cause No. 09-60726,

pending in the 189th Judicial District Court for Harris County, Texas (the “ExxonMobil Suit”),

and seeks his defense costs incurred in the ExxonMobil Suit and statutory penalties.

                                TIMELINESS OF REMOVAL

       2.      On or about February 28, 2017, Wagner filed suit against Northfield.
         Case 4:17-cv-00276-A Document 1 Filed 03/31/17                   Page 2 of 6 PageID 2


            3.       Wagner served the Plaintiff’s Original Petition (the “Petition”) on Northfield,

through the Texas Commissioner of Insurance, on March 2, 2017.

            4.       Pursuant to 28 U.S.C. § 1446(b)(2)(B), “[e]ach defendant shall have 30 days after

receipt by or service on that defendant of the initial pleading or summons . . . to file the notice of

removal.” 28 U.S.C. § 1441(b)(2)(B).

            5.       Removal is timely under 28 U.S.C. § 1446(b)(2)(B) and (c)(1) as it is filed within

thirty (30) days of service or receipt of the initial pleading on Northfield and within one year of

the action being filed.

                                             CONSENT TO REMOVAL

            6.       Northfield is the only defendant in the captioned suit, and therefore consent to

removal is not necessary.

                          BASIS OF REMOVAL – DIVERSITY JURISDICTION

            7.       This Court has original jurisdiction pursuant to 28 U.S.C § 1332(a), and this

matter is removable pursuant to 28 U.S.C. § 1441(a), because complete diversity of citizenship

among the parties exists and the amount in controversy exceeds $75,000, exclusive of interest

and costs.

                                          DIVERSITY OF THE PARTIES

            8.       The Petition alleges that Wagner is an individual who resides in Tarrant County,

Texas. 1

            9.       The Petition alleges that Northfield is an Iowa surplus lines insurance carrier with

its principal place of business in Connecticut. 2 In fact, Northfield is an Iowa corporation with its


1
    See Exhibit 1, Plaintiff’s Original Petition, ¶ 3.
2
    See Exhibit 1, Plaintiff’s Original Petition, ¶ 4.




                                                         2
         Case 4:17-cv-00276-A Document 1 Filed 03/31/17                          Page 3 of 6 PageID 3


principal place of business in Connecticut. A corporation is a citizen of both its state of

incorporation and the state of its principal place of business. 3 Thus, Northfield is a citizen of

both Iowa and Connecticut.

                                          AMOUNT IN CONTROVERSY

            10.      The amount in controversy exceeds the federal diversity jurisdiction minimum of

$75,000, exclusive of interest and costs, pursuant to 28 U.S.C. § 1332(a).

            11.      A defendant may establish that the amount in controversy exceeds $75,000 either

by demonstrating that it is facially apparent from the petition that the claim likely exceeds

$75,000 or by setting forth the facts in controversy that support a finding of the requisite amount.

Grant v. Chevron Phillips Chem. Co., 309 F.3d 864, 868 (5th Cir. 2002). If a defendant can

show by a preponderance of the evidence that the amount in controversy exceeds the

jurisdictional amount, the “plaintiff can defeat diversity jurisdiction only by showing to a ‘legal

certainty’ that the amount in controversy does not exceed $75,000.” Id. at 869 (quoting De

Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th Cir. 1995)).

            12.      Plaintiff alleges in the Petition that he “seeks monetary relief of $1,000,000 or

more and any other relief to which Plaintiff may show himself justly entitled.” 4 Further, Plaintiff

alleges that “[t]o date, Wagner has incurred over $1.26 million in uncompensated attorneys’ fees

and costs associated with the ExxonMobil suit for which Northfield is responsible . . . .”5 Thus,



3
  28 U.S.C. § 1332(c)(1); see also Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010) (holding that for purposes of
federal diversity jurisdiction a corporation is domiciled both in the state of incorporation and the place of
corporation’s “nerve center,” i.e. “the place where a corporation’s officers direct, control, and coordinate the
corporation’s activities.”); Teal Energy USA, Inc. v. GT, Inc., 369 F.3d 873, 875 (5th Cir. 2004) (“[A] corporation is
a citizen of both its state of incorporation and the state of its principal place of business for purposes of diversity
jurisdiction.”).
4
    See Exhibit 1, Plaintiff’s Original Petition, ¶ 2.
5
    See Exhibit 1, Plaintiff’s Original Petition, ¶ 10.




                                                          3
      Case 4:17-cv-00276-A Document 1 Filed 03/31/17                 Page 4 of 6 PageID 4


Plaintiff’s claim and the amount in controversy exceeds $75,000, exclusive of interest and costs,

and this Court may assume jurisdiction over this matter under 28 U.S.C. § 1332.

        13.      Furthermore, absent a statute limiting recovery, “[l]itigants who want to prevent

removal must file a binding stipulation or affidavit with their complaints,” stating that the

damages are not more than the minimum jurisdictional amount. De Aguilar v. Boeing Co., 47

F.3d 1404, 1412 (5th Cir. 1995) (quoting In re Shell Oil Co., 970 F.2d 355, 356 (7th Cir. 1992)).

“The general principle is that plaintiffs have to show that they are bound irrevocably by their

state pleadings.” Id. at 1412, n.10. No binding stipulation or affidavit was filed with the

Petition.

        14.      Northfield does not admit the underlying facts alleged by Plaintiff and denies any

and all liability to Plaintiff.

       COMPLIANCE WITH PROCEDURAL REQUIREMENTS FOR REMOVAL

        15.      Pursuant to Local Rule 81.1(a)(4)(B), a copy of the docket sheet in the state court

action is attached hereto as Exhibit “1”.

        16.      Pursuant to Local Rule 81.1(a)(4)(A) and (C), attached hereto as Exhibit “2” is a

copy of each document filed in the state court action, except discovery material, preceded by an

index of all documents that clearly identifies each document and indicates the date the document

was filed in state court.

        17.      Pursuant to Local Rule 81.1(a)(4)(D), a separately signed certificate of interested

persons is attached hereto as Exhibit “3”.

        18.      Pursuant to Local Rule 81.1(a)(3), a notice of related cases is attached hereto as

Exhibit 4”.




                                                  4
      Case 4:17-cv-00276-A Document 1 Filed 03/31/17                 Page 5 of 6 PageID 5


       19.        Northfield will promptly give written notice of the filing of this Notice of

Removal by filing a Notice to State Court of Filing of Notice of Removal with the Clerk of the

Tarrant County District Court as required by 28 U.S.C. § 1446(d).

       20.        This Notice of Removal is filed within 30 days of the receipt by or service upon

Northfield of a copy of the initial pleading setting forth the claim for relief upon which the action

or proceeding is based.

       21.        The state court action was commenced on February 28, 2017, and this Notice of

Removal is being filed within one (1) year after its commencement.

       22.        Venue is proper within the Northern District of Texas because the matter is being

removed from Tarrant County District Court, a court within the Northern District of Texas.

       23.        Under 28 U.S.C. § 1446(d), Northfield affirms that it will give written notice of

this removal to all adverse parties and will file a copy of the Notice with the Tarrant County

District Court.

       24.        Northfield appears here only for the limited purpose of asserting the present

Notice of Removal, and this Notice is submitted without waiver of any defenses, state or federal,

and with full reservation of Northfield’s right to timely assert any and all such defenses.

       25.        Northfield reserves its right to supplement and/or amend this Notice of Removal.

       WHEREFORE, Northfield removes this action from the 67th Judicial District Court of

Tarrant County, Texas to the United States District Court for the Northern District of Texas, Fort

Worth Division, so that it may assume jurisdiction over the case as provided by law.




                                                  5
     Case 4:17-cv-00276-A Document 1 Filed 03/31/17              Page 6 of 6 PageID 6


       DATED this 31st day of March, 2017.

                                            Respectfully Submitted:

                                              /S/ William A. Worthington
                                            William A. Worthington
                                            wworthington@cwlaw.com
                                            TX Bar No. 22010300
                                            Conner & Winters
                                            808 Travis Street, Suite 2300
                                            Houston, Texas 77002
                                            Telephone:     (713)650-3850
                                            Facsimile:     (713)650-3851

                                            Attorneys for Northfield Insurance Company

                                       CERTIFICATE

       I hereby certify that promptly after filing the Notice of Removal with this Honorable

Court, the attached Notice of Filing of Removal to Counsel and Clerk of Court together with a

copy of the above-referenced Notice of Removal, were filed with the Clerk of the Tarrant County

District Court, and was served on all parties by email and by mailing the same, properly

addressed and postage prepaid, on this 31st day of March 2017.

                                             /s/ William A. Worthington
                                            William A. Worthington
